                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re Petition of FRESCATI SHIPPING
COMPANY, LTD., as the Owner of the M/T
ATHOS I, and TSAKOS SHIPPING &
TRADING, S.A., as Manager of the M/T                          CIVIL ACTION
ATHOS I, for Exoneration from or Limitation                   NO. 05-cv-305 (JHS)
of Liability




UNITED STATES OF AMERICA,
                                                              CONSOLIDATED
                       Plaintiff,

       v.

CITGO ASPHALT REFINING COMPANY,                                CIVIL ACTION
et al.,                                                       NO. 08-cv-2898 (JHS)

                       Defendants.



                                           ORDER

       AND NOW, this 25th day of July 2016, upon consideration of Defendants’ Motion to

Draw Adverse Inferences Because of Plaintiffs’ Spoliation of Vessel Records (Doc. No. 754),

Frescati Plaintiffs’ Brief in Opposition to Defendants’ Motion to Draw Adverse Inferences

Because of Plaintiffs’ Alleged Spoliation of Vessel Records (Doc. No. 765), Defendant’s Reply

to Response to Motion (Doc. No. 777), Defendants’ Motion to Enforce the Best Evidence Rule

and to Exclude and Disregard Secondary Evidence and Testimony Offered Instead of Original

Evidence Lost or Destroyed in Bad Faith (Doc. No. 755), Frescati Plaintiffs’ Brief in Opposition

to Defendants’ Motion to Enforce the Best Evidence Rule and to Exclude and Disregard

Secondary Evidence and Testimony Offered Instead of Original Evidence Lost or Destroyed in


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Bad Faith (Doc. No. 766), Defendants’ Reply to Response to Motion (Doc. No. 776), and in

accordance with the Opinion of the Court issued this day, it is ORDERED that:

          1. Defendants’ Motion to Draw Adverse Inferences Because of Plaintiffs’ Spoliation

              of Vessel Records (Doc. No. 754) is DENIED.

          2. Defendants’ Motion to Enforce the Best Evidence Rule and to Exclude and

              Disregard Secondary Evidence and Testimony Offered Instead of Original

              Evidence Lost or Destroyed in Bad Faith (Doc. No. 755) is DENIED.

                                                  BY THE COURT:



                                                  /s/ Joel H. Slomsky
                                                  JOEL H. SLOMSKY, J.




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